    2:22-cv-01307-RMG                 Date Filed 12/09/24      Entry Number 249-1          Page 1 of 3



                                    UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA
                                        CHARLESTON DIVISION


  NAUTILUS INSURANCE COMPANY,                                 Civil Action No. 2:22-cv-1307-RMG

                                          Plaintiff,

  vs.
                                                          DEFENDANT CORY FLEMING’S
  Richard Alexander Murdaugh, Sr., Cory Fleming,           PRELIMINARY EXHIBIT LIST
  MOSS & KUHN, P.A., Chad Westendorf, and
  PALMETTO STATE BANK,

                                           Defendants.



             Defendant, Cory Fleming (“Mr. Fleming”), respectfully submits the following list of exhibits he

intends to or may present at trial:

        No.      Description                                             Bates/Docket (if applicable)
                 JR Murphy memorandum to Konnor Owens dated            Grantland depo., Ex. 1
        1
                 July 11, 2018
        2        Nautilus Insurance Company – policy detail            Grantland depo., Ex. 2
                 Amy Coryer email to JR Murphy, dated Nov. 12,         Grantland depo., Ex. 3
        3
                 2018
                 David Rheney letter to Amy Cory, dated                Grantland depo., Ex. 4
        4
                 November 12, 2018
                 Scott Wallinger letter to Caitlin Crist and David     Grantland depo., Ex. 5
        5
                 Patrick, dated November 6, 2018
                 John Grantland email to Amy Coryer, dated             Grantland depo., Ex. 6
        6
                 November 27, 2018
                 John Grantland letter to Amy Coryer, dated            Grantland depo., Ex. 7
        7
                 January 7, 2019
                 John Grantland letter to Cory Fleming, dated          Grantland depo., Ex. 8
        8
                 January 9, 2019
                 John Grantland email to Amy Coryer, dated             Grantland depo., Ex. 9
        9
                 January 10, 2019
                 Amy Coryer/Nautilus internal memorandum,              Grantland depo., Ex. 10
        10
                 dated January 10, 2019 9:10 AM
                 Amy Coryer email to John Grantland dated              Grantland depo., Ex. 11
        11
                 February 15, 2019
                 John Grantland email to Amy Coryer, dated             Grantland depo., Ex. 12
        12
                 February 25, 2019 , 3:22 PM
                 John Grantland email to Amy Coryer, dated             Grantland depo., Ex. 13
        13
                 February 25, 2019 3:15 PM
        14       John Grantland email to Amy Coryer, dated             Grantland depo., Ex. 14
                                                        1
2:22-cv-01307-RMG      Date Filed 12/09/24      Entry Number 249-1         Page 2 of 3



      March 6, 2019 7:41 AM
      John Grantland email to Amy Coryer, dated           Grantland depo., Ex. 15
 15
      March 6, 2019 7:40 AM
      Amy Coryer email to John Grantland dated March      Grantland depo., Ex. 16
 16
      8, 2019 8:51 AM
      John Grantland letter to Amy Coryer, dated          Grantland depo., Ex. 17
 17
      March 11, 2019
      John Grantland letter to Jon L. Austen, dated       Grantland depo., Ex. 18
 18
      March 14, 2019
      Rehabilitation and Geriatric Services -             Grantland depo., Ex. 19
 19   Independent Medical Examination, dated March
      11, 2019
      John Grantland email to Amy Coryer, dated           Grantland depo., Ex. 20
 20
      March 18, 2019 8:25 AM
      John Grantland email to Cory Fleming, Scott         Grantland depo., Ex. 21
 21
      Wallinger, dated March 25, 2019, 12:14 PM
      Amy Coryer email to John Grantland dated March      Grantland depo., Ex. 22
 22
      25, 2019, 6:27 AM
      John Grantland email to Amy Coryer, dated           Grantland depo., Ex. 23
 23
      March 25, 2019 12:38 PM
      John Grantland email to Amy Coryer, dated           Grantland depo., Ex. 24
 24
      March 29, 2019 7:54 AM
      Amy Coryer email to John Grantland dated April      Grantland depo., Ex. 25
 25
      2, 2019 12:18 PM
 26   Release (unexecuted) dated 2019                     Grantland depo., Ex. 26
      Petition for Approval of Settlement (unexecuted     Grantland depo., Ex. 27
 27
      and not filed) dated 2019
      Order Approving Settlement (unexecuted and not      Grantland depo., Ex. 28
 28
      filed) dated 2019
      Amy Coryer email thread with John Grantland         Grantland depo., Ex. 29
 29
      dated April 17, 2019 4:53 AM
      John Grantland letter to Cory Fleming dated April   Grantland depo., Ex. 30
 30
      22, 2019
      Berkeley Insurance Company and Nautilus             Grantland depo., Ex. 31
 31   Insurance Company settlement check payable to
      Chad Westendorf, et al., dated April 18, 2019
      John Grantland email to Amy Coryer, dated May       Grantland depo., Ex. 32
 32
      6, 2019 9:58 AM
      Amy Coryer email thread with John Grantland         Grantland depo., Ex. 33
 33
      dated May 10, 2019, 11:12 AM
      Cory Fleming letter to John Grantland, dated May    Grantland depo., Ex. 34
 34   13, 2019, enclosing original Order Approving
      Settlement
      Order Approving Settlement, signed by Hon.          Grantland depo., Ex. 35
 35
      Carmen T. Mullen, dated May 13, 2019
      John Grantland email to Amy Coryer, dated May       Grantland depo., Ex. 36
 36
      14, 2019 6:10 AM

                                         2
   2:22-cv-01307-RMG             Date Filed 12/09/24        Entry Number 249-1          Page 3 of 3



              Email from Judge Mullen’s law clerk to Renee           Grantland depo., Ex. 37
     37
              Dillon, dated June 13, 2019 12:25 PM
              John Grantland email thread with Cory Fleming          Grantland depo., Ex. 38
     38
              dated May 14, 2019 8:33 AM
              Cory Fleming email thread with John Grantland          Grantland depo., Ex. 39
     39
              dated May 13, 2019, 3:41 PM
              Order Approving Settlement, signed by Judge            Grantland depo., Ex. 40
     40
              Carmen T. Mullen, dated May 13, 2019
              Hon. Carmen T. Mullen’s email thread to John           Grantland depo., Ex. 41
     41
              Grantland, dated September 29, 2021 7:08 PM
              Murphy & Grantland billing records for time            Grantland depo., Ex. 42
     42
              March 19-21, 2019
              JR Murphy letter to Cory Fleming dated                 Grantland depo., Ex. 43
     43
              November 14, 2018
              Amy Coryer email thread with Jon Austen and            Grantland depo., Ex. 44
     44
              John Grantland, dated March 25, 2019, 11:54 AM
              Cory Fleming email thread with Tanya King,             Grantland depo., Ex. 46
     45
              dated October 1, 2020 11:01 AM
              Stipulation of Dismissal, filed October 6, 2020,       Grantland depo., Ex. 47
     46
              1:48 PM


          Pursuant to Fed. R. Civ. P. 26(a)(3), the list of exhibits does not include those exhibits which

may be needed for impeachment. Mr. Fleming may introduce additional exhibits that were exhibits

to depositions in this matter, as well as any exhibit identified by Plaintiff or any other Defendant and

reserves the right to do so and to supplement this list as appropriate.

                                                Respectfully submitted,

                                                /s/ Thomas A. Pendarvis________
                                                Thomas A. Pendarvis (Fed. Id. 5785)
                                                PENDARVIS LAW OFFICES, P.C.
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                                                843.524.9500
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                                                Counsel for Defendant, Cory H. Fleming
                                                serving on a pro bono basis
Beaufort, South Carolina

December 9, 2024



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